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Appendix B

red AW Bond quotes

noe Onder type Order statwes

| Ab w epee tect
Quantity Symhot Price type
414i MAMILP mt
S MMILP Lane
oP MAMTLE beret
250 MMTLP tuna
450 MMTLE bierie

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Too Late To Cancel _
The request to cancel is received and the order is no

jonger able to be canceled.

Rechemaa or ne

Order type Quantity Symbol Price type Term Price Reasons

Sell 836 MMTLP Limit . GT 60 2,150.00 Too Late To Cancel
Sell 1500 MMTLP Limit GT 60 1468.00 Too Late To Cancel
Sell 1555 MMTLP Limit GT 60 298.00 Too Late To Cancel

Onter rumber Order type

an wv
Onder type Quantity Symbol
Bert Sa MARAT
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Set JOO MILE
Set SO MMITLE
Set 1S MEME
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Price Reasons $3 4-8
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